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                       UNITED STATES DISTRICT COURT
                          DISTRICT OF CONNECTICUT

                                     :
UNITED STATES                        :
                                     :
                                     :
v.                                   :       CIV. NO. 3:12CR74 (WWE)
                                     :
DONALD OGMAN ET AL                   :
                                     :
                                     :

                        RULING ON PRETRIAL MOTIONS


        A pretrial conference was held on October 9, 2012, to

discuss the pending motions and a trial schedule.                  At the

conference, the parties indicated that there were no pending

issues regarding receipt and/or management of discovery

materials.      Jury selection before Judge Eginton was scheduled

for December 4, 2012, for the first of what could be several

trials.

Background
        On April 9, 2012, following a long-term investigation that

included the use of court-authorized wiretaps, a grand jury

returned a multi-count indictment charging eighteen (18)

individuals with various federal narcotics offenses, including

conspiracy to possess with intent to distribute crack, in

violation of 21 U.S.C. §§841(a)(1)(possession and distribution

of narcotics) and 846 (conspiracy to distribute and to possess

narcotics).1     Several of the defendants, Donald Ogman, Derrick


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    Several defendants have pleaded guilty since April.
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Brock, Lamont Reed, Anaje Amin, Cornell Streater, Romell Brown,

Romell Brown, Edward Prezioso, Richard Mason, and Clayton

Carney, filed various standard discovery and pre-trial motions.2

For the reasons that follow, all of the motions are denied.

    A. Motions to Dismiss, or in the Alterative, For Bills of
       Particulars [doc. ##232, 283, 287, 290]
        Defendants Ogman, Brock, Prezioso and Streater argue that

Count One of the indictment is defective because it fails to

provide defendants with notice of the particular manner and
means by which the conspiracy allegedly operated, of the

specific acts allegedly done in furtherance of the conspiracy,

or the roles of the various co-conspirators. The motions contend

that the Government fails to provide sufficient specificity in

the indictment regarding their participation in the alleged

conspiracy.      However, the Second Circuit has held that an

indictment under 18 U.S.C. §846 “is sufficient if it alleges a

conspiracy to distribute drugs, the time during which the

conspiracy was operative and the statute allegedly violated,

even if it fails to allege any specific overt act in furtherance

of the conspiracy.”       United States v. Bermudez, 526 F.2d 89, 94

(2d Cir. 1975). The indictment here includes all of these

allegations, and thus is sufficiently specific.

        Defendants further argue that if Count One is not

dismissed, they are entitled to a bill of particulars

identifying the basis for, among other things, the allegation of

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 Judge Eginton will rule on the Motion to Suppress, Motions to
Sever and Motions in Limine.
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conspiracy, the dates on which each co-conspirator joined the

conspiracy, all overt acts not identified in the indictment, and

each defendant’s alleged participation in each overt act.

    The decision to grant or deny a request for a bill of

particulars is “reviewed for an abuse of discretion.”             United

States v. Walsh,    194 F.3d 37, 47 (2d Cir. 1999).            “A bill of

particulars is required “only where the charges of the

indictment are so general that they do not advise the defendant

of the specific acts of which he is accused.” Id. (citation

omitted). As set forth above, the indictment was satisfactory in

this respect.

    “The proper scope and function of a bill of particulars is

not to obtain disclosure of evidence or witnesses to be offered

by the government at trial, but to minimize surprise, to enable

movant to obtain such ultimate facts as are needed to prepare

his defense, and to permit a defendant successfully to plead

double jeopardy if he should be prosecuted later for the same

offense.” United States v. Feola,         651 F. Supp. 1068, 1132

(S.D.N.Y. 1987) (citing cases).         Further, “[b]ecause a bill of

particulars confines the government’s proof to particulars

furnished, requests for a bill of particulars should not be

granted where the consequence would be to restrict unduly the

government’s ability to present its case.”          Id. (citing cases).

“The test is not whether the particulars sought would be useful

to the defense. Rather a more appropriate inquiry is whether the

information in question is necessary to the defense.”             United


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States v. Guerrerio, 670 F. Supp. 1215, 1224 (S.D.N.Y. 1987)

(citations omitted, emphasis in original).

    “[A] bill of particulars is not necessary where the

government has made sufficient disclosures concerning its

evidence and witnesses by other means.”          Walsh, 194 F.3d at 47.

Here, the government has provided a “wealth of evidentiary

detail” to defendants including, but not limited to,

the FBI reports of investigation (i.e. FBI-302s); wiretap

applications, affidavits and orders; audio of calls intercepted

during the wiretap phase of the underlying investigation, and

summaries of the content of each call created at the time of

interception (i.e. line sheets and/or draft transcripts). [Doc.

#313 at 2-]; United States v. Deas, No. 3:07-cr-73 (CFD), 2008

WL 5063903, at *3 (D. Conn. Nov. 24, 2008). The Court finds that

the government has provided defendants with enough evidence in

discovery to prepare their defense. To find otherwise would

confine the government’s proof to particulars furnished, thereby

“restricting unduly the Government’s ability to present its

case.”   Feola,   651 F. Supp. at 1132 ((citations omitted);

Guerrerio, 670 F. Supp. at 1224-25 (“A bill of particulars,

however, is not a discovery tool and is not intended to allow

defendants a preview of the evidence or the theory of the

government’s case.”).        Defendants have not shown that the

particulars sought are necessary to their defense.

    Accordingly, defendants’ motions for an order dismissing

Court One, or alternatively, for an order directing the


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Government to file a Bill of Particulars [doc. ##232, 283, 287,

290] are DENIED.

B. Motions for Disclosure of Statements of Co-Conspirators [doc.
   ## 80, 181, 278, 288, 298]

  Defendants Carney, Amin, Mason, Prezioso and Reed move for

disclosure of the identity and substance of those co-

conspirators statements that the government intends to use at

trial.   It is established in the Second Circuit that co-

conspirator statements are not discoverable.          United States v.

Percevault, 490 F.2d 126 (2d Cir. 1974)(finding Jencks Act, 18

U.S.C. §3500, prohibited the disclosure of such statements prior

to the declarants’ testimony in the government’s case-in-chief

and disclosure is not compelled by Fed. R. Crim. P. 16(a));

United States v. Shyne, 617 F.3d 103, 107-8 (2d Cir. 2010)

(finding Fed. R. Evid 806 does not trump the “express language

of the Jencks Act which states that no disclosure is warranted

until ‘said witness has testified on direct examination in the

trial of the case.’”). Moreover, the government has already

disclosed to defendants thousands of co-conspirator statements

which were intercepted during the wiretap phase of the

investigation.   Defendants do not direct the Court to any Second

Circuit cases to support their argument under Fed. R. Evid

801(d)(2)(E).

    Accordingly, defendants’ Motions for Disclosure of

Statements of Co-Conspirators [doc. ##80, 181, 278, 288, 298]

are DENIED.

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C. Request for Notice of Intention to Use Evidence of Prior
  Misconduct, Fed. R. Evid. 404(b) [doc. #289]
   Defendant Prezioso moves for disclosure and notice of

evidence of prior misconduct which the government intends to use

in its case in chief.        The government states that it “has not

made a determination that it will offer 404(b) evidence as to

any of the defendants.”        [Doc. #313 at 8].     Each defendant has

been provided with a copy of his criminal history and has been

advised that, depending on the circumstances as they evolve as

trial approaches, any criminal conviction in their criminal

histories may be used as 404(b) evidence. Additionally, the

government states that it will advise the defense at the

earliest possible time of any evidence of uncharged misconduct

which may be used in its case-in-chief.

   Accordingly, defendant Prezioso’s motion [doc. #289] is

GRANTED based on the government’s agreement that notice will be

given prior to the commencement of its case-in-chief if prior

misconduct evidence will, in fact, be offered against Prezioso.

D. Motions to Preserve and for Production of Agent’s Notes [doc.
   ##79, 177, 285, 294, 295, 301]
   Defendant Amin, joined by defendants Ogman, Streater and

Brock move for an order directing the government “to retain and

preserve all notes made by federal, state or local agents and

investigative personnel involved in any aspect of this case, in

the course of the investigation.” [Doc. #177 and 294, 285, 301;

incorporating #177 by reference]. Specifically, defendants

request the “preservation of all rough notes, handwritten or

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otherwise, memoranda, synopses, original tapes, etc.

(hereinafter “notes”) which were made in the course of the

investigation, whether or not the contents of same were

incorporated into any official report such as a DEA-6” including

“notes related to interviews with witnesses, informants,

suspects or a subject of investigation, and notes relative to

surveillance.” [Doc. #117 at 1].        Defendants Carney and Reed are

seeking agents’ notes pertaining to statements made by the

defendant [doc. ##295, 79] and “that of any proffer session

pertaining to potential witnesses against him.” [Doc. #79].

   Fed. R. Crim. P. 16(a)(1)(B)(ii) provides that, upon a

defendant’s request, the government must produce “the portion of

any written record containing the substance of any relevant oral

statement made before or after arrest if the defendant made the

statement in response to interrogation by a person the defendant

knoew was a government agent . . . .”

   The government represents that it will preserve agent notes

of interviews with witnesses, which addresses the motions of

Ogman, Streater, Brock and Amin, and the government intends to

disclose such notes, which is the relief sought by defendants

Carney and Reed. [Doc. #313 at 8-9].        Notwithstanding the

government’s representation, the Second Circuit recognizes that

the notes of investigators do not constitute Jencks Act

materials as defined by Rule 16. See United States v.

Koskerides, 877 F.2d 1129, 1133 (2d Cir. 1129) (finding “the

government fully complied with Rule 16(a)(1)(A) by providing
appellant with the typewritten memoranda of interviews prepared
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from the agent’s handwritten notes”); United States v. Elusma,

849 F.2d 76, 79 (2d Cir. 1988) (agents need not preserve their

handwritten notes of interviews if the agents incorporate them

into formal reports), but see, United States v. Ionia Management

S.A., No. 3:07cr134 (JBA), 2007 WL 2298570, *1-2 (D. Conn. Aug.

3, 2007) (“[I]t is clear that, pursuant to Rule 16(a)(1)(B)(ii),

the Government must produce all of the agents’ rough notes of

interviews/interrogations conducted with the defendant’s

employees/agents . . .”); United States v. Stein, 424 F. Supp.

2d 720, 728-29 (S.D.N.Y. 2006) (finding that Koskerides relied

on an earlier version of Fed. R. Crim. P. 16, failing to take in

to account the 1991 amendment of Rule 16 and ordering the

government to produce rough notes taken by government agents

during interviews with the moving defendants and ordering

preservation of notes taken during interviews with non-moving

defendants with production upon request by the non-moving

defendants. Accordingly, defendants’ Motions to Preserve and for

Production of Agent’s Notes [doc. ##79, 177, 285, 294, 295, 301]

are DENIED as moot in light of the government’s representation.

E. Defendant Amin’s Motion for Giglio Material [doc. #179]

   Defendant Amin moves for an order directing the government to

provide a list of material that he contends is due to him under

United States v. Giglio, 405 U.S. 150 (1972).           The government

responds that it will comply with its duties and

responsibilities with respect to the disclosure of Giglio
material.   In addition, the government states that its ex parte
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Motion for Protective Order regarding disclosure of its non-law

enforcement witnesses was granted and provides that it will

produce the identities and Giglio material relating to its non-

law enforcement witnesses ten (10) days prior to the

commencement of evidence in this matter. [Doc. #156].

    Accordingly, defendant Amin’s Motion for Giglio Material

[doc. #179] is DENIED as moot.


F. Defendants Ogman and Amin’s Motions for Discovery of
   Information of Confidential Informants [doc. ##182, 236]
   Defendants Ogman and Amin move for an order that the

government disclose the identities of persons identified in the

affidavit of Special Agent Christian T. Roccia as “Confidential

Human Source 1”, “Confidential Human Source 2” and “Confidential

Human Source 3” and/or any confidential source as set forth in

Amin’s motion.   The government states that its ex parte Motion

for Protective Order regarding disclosure of the identities of

any cooperating witnesses it intends to call at trial was

granted and that it will make the disclosure ten (10) days prior

to the commencement of evidence in this matter. [Doc. #156].

Other than moving for the disclosure of the confidential

informant’s identities, defendants have not undertaken the

burden of demonstrating that they “will be deprived of his right

to a fair trial” absent being provided with that information

sooner.   See United States v. Fields, 113 F.3d 313, 324 (2d Cir.
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1997) (“Disclosure is a matter which lies within the sound

disclosure of the district court.”); Rovario v. United States,

353 U.S. 53, 60-61 (1957) (The government is not generally

required to disclose the identity of confidential informants).

“Speculation that disclosure of the informant’s identity will be

of assistance is not sufficient to meet the defendant’s burden;

instead, the district court must be satisfied, after balancing

the competing interests of the government and the defense, that

the defendant’s need for disclosure outweighs the government’s

interest in shielding the informant’s identity.” Fields, 113

F.3d at 324.

   Accordingly,   Defendants Ogman and Amin’s Motions for

Discovery of Information of Confidential Informants [doc. ##182,

236] are DENIED on the current record.

G. Motions for Brady and Jencks Act Material [doc. ## 180, 233,
   297]
   Defendant Amin moves for an order for disclosure of materials

covered by Brady v. Maryland, 373 U.S. 83 (1963). [Doc. #180].

The government responds that it will comply with its duties and

responsibilities with respect to the disclosure of Brady

material and represents that it has, and will continue to,

fulfill these obligations to provide discovery to the

defendants, including the materials requested in Amin’s motion.

[Doc. #313 at 25]. Accordingly, defendant Amin’s Motion for
Brady Material [doc. #180] is DENIED on this record.
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   Defendants Streater [doc. #233] and Reed [doc. #297] move,

pursuant to the Jenks Act, 18 U.S.C. §3500, Fed. R. Crim. P.

16(a) and the Court’s Standing Order, for production of all

Jenks Act materials “not less than thirty (30) days before jury

selection . . . .” [Doc. #233].      Under the Jenks Act, 18 U.S.C.

§3500(a), no statement or report in the possession of the United

States which was made by a Government witness or prospective

Government witness (other than the defendant) shall be the

subject of subpoena, discovery, or inspection until said witness

has testified on direct examination in the trial of the case.”

Notwithstanding, the statute, the government responds that, “it

will disclose Jencks materials before evidence is presented at

trial.” [Doc. #313 at 25]. Defendants offer no authority to

override the Jenks Act.


    Accordingly, defendants Streater and Reed’s Motions for

Jenks Act Materials [doc. ##233, 297] are DENIED on this record.

H. Defendant Streater’s Motion to Compel Notice from the
   Government of Intention to Use Evidence and Motion for Leave
   to File Suppression Motion [doc. #234] and Disclosure of the
   Existence of Evidence Obtained Pursuant to State Action [Doc.
   #235] and defendant Reed’s Motion for Order [doc. #296]
   Defendant Streater moves to compel the government to provide

him with notice of the specific evidence it intends to use in

its case-in-chief at trial, so that he have a full and fair

opportunity to move to suppress evidence. Streater also seeks

any and all evidence or information seized or obtained by state

law enforcement agents, whether or not acting in conjunction
with the United States. [Doc. #235].       Streater has not filed a
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motion to suppress, has not sought leave to file a motion to

suppress and at the status conference defense counsel did not

raise any issues regarding disclosure or access             to evidence.

The government represents that it has disclosed all recordings

of intercepted telephone conversations pursuant to Court order

and “any and all evidence is available . . . for in-person

inspection by defense counsel through the case agent. . . .”

[Doc. #313 at 26]. The government states that it currently

intends to offer all of the evidence it has accumulated in the

case to date at trial. Id.

   Accordingly, Streater’s Motions to Compel [doc. #234, 235]

are DENIED on this record.

   Similarly, defendant Reed moves to compel discovery. [Doc.

#296]. At the status conference, defense counsel did not raise

any issues regarding disclosure or access to evidence. The

government states that it has provided and will continue to

provide materials for which disclosure is required under the

Standing Order on Pretrial Discovery. [Doc. #155].

    Accordingly, Reed’s Motion for Order [doc. #296] is DENIED

on this record.




I. Motions for Disclosure of Expert Witnesses [doc. ##81, 293,
   284, 302]
    Defendants Ogman, Brock, Streater and Carney [doc. ##81,
   293, 294, 302] move for disclosure of expert witnesses the

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    government intends to call at trial, including any use of

    “officer expert” testimony on terminology contained within

    telephone transcripts.     The government represents that it

    intends to call at trial forensic analysts who have analyzed

    seized narcotics in this case. The identities of these

    individuals are set forth in reports and have been provided

    to the defense.    The defense does not challenge these

    reports.

      Accordingly, defendants’ Motions for Disclosure of Expert

    Witnesses [doc. ##81, 293, 284, 302] are DENIED on this

    record.

 J. Defendant Reed’s Motion to Reserve Right to File Motion to
    Suppress Statement of the Defendant [Doc. #299]


    Defendant Reed’s Motion for Leave of Court to “reserve the

right” to file a Motion to Suppress the Statement(s) of the

Defendant [Doc. #299] is DENIED as MOOT on the current record. At

the status conference, counsel raised no objection to the

government’s production of discovery and did not seek leave to

file a motion to suppress out of time.




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    CONCLUSION

    For the reasons stated, defendants’ Motions for an Order

dismissing Court One or, alternatively, for an order directing

the government to file a bill of particulars [doc. ##232, 283,

287, 290] are DENIED.

  Any objections to this recommended ruling must be filed with

the Clerk of the Court within fourteen (14) days of the receipt

of this order.   Failure to object with fourteen (14) days may

preclude appellate review.     See 28 U.S.C. § 636(b)(1); Rules 72,

6(a) and 6(e) of the Federal Rules of Civil Procedure; Rule 72.2

of the Local Rules for United States Magistrate Judges; Small v.

Secretary of H.H.S., 892 F. 2d 15 (2d Cir. 1989)(per curiam);

F.D.I.C. v. Hillcrest Assoc., 66 F. 3d 566, 569 (2d Cir. 1995).



  Defendants’ Motions for Disclosure of Statements of Co-

Conspirators [doc. ##80, 181, 278, 288, 298] are DENIED.
  Defendant Prezioso’s Motion for Disclosure of Evidence of

Prior Misconduct [doc. #289] is GRANTED based on the

government’s agreement that notice will be given prior to the

commencement of its case-in-chief that prior misconduct evidence

will, in fact, be offered therein.

  Defendants’ Motions to Preserve and for Production of Agent’s

Notes [doc. ##79, 177, 285, 294, 295, 301] are DENIED as moot in

light of the government’s representation.

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   Defendant Amin’s Motion for Giglio Material [doc. #179] is

DENIED as moot.

  Defendants Ogman and Amin’s Motions for Discovery of

Information of Confidential Informants [doc. ##182, 236] are

DENIED on the current record.

   Defendant Amin’s Motion for Brady Material [doc. #180] is

DENIED on this record.

  Defendants Streater and Reed’s Motions for Jenks Act Materials

[doc. ##233, 297] are DENIED on this record.

   Defendant Streater’s Motions to Compel [doc. #234, 235] are

DENIED on this record.

   Defendant Reed’s Motion for Order [doc. #296] is DENIED on

this record.

   Defendants Ogman, Brock, Streater and Carney’s Motions for

Disclosure of Expert Witnesses [doc. ##81, 293, 284, 302] are

DENIED on this record.

  Defendant Reed’s Motion for Leave of Court to “reserve the

right” to file a Motion to Suppress the Statement(s) of the

Defendant [Doc. #299] is DENIED as MOOT on the current record.

    This is not a recommended ruling.        This is a discovery

ruling and order which is reviewable pursuant to the "clearly

erroneous" statutory standard of review.        28 U.S.C. § 636

(b)(1)(A); Fed. R. Civ. P. 6(a), 6(e) and 72(a); and Rule 2 of

the Local Rules for United States Magistrate Judges.            As such,



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it is an order of the Court unless reversed or modified by the

district judge upon motion timely made.



    SO ORDERED at Bridgeport this 2nd day of November 2012.



                                 ________/s/___________________
                                 HOLLY B. FITZSIMMONS
                                 UNITED STATES MAGISTRATE JUDGE




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